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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 BTL INDUSTRIES, INC.,

                       Plaintiff,

 v.                                                        Civil Action No. 1:21-cv-3630

 PINKY PROMISE BEAUTY                                      JURY TRIAL DEMANDED

                       Defendants.



                                         COMPLAINT

       Plaintiff BTL Industries, Inc. (“BTL”), by its attorneys, files this Complaint against Pinky

Promise Beauty (“Pinky Promise”) and alleges as follows:

                                NATURE OF THIS ACTION

       1.      This is a civil action by BTL against Pinky Promise for trademark infringement,

unfair competition, false designation of origin, and false advertising under the Lanham Act (15

U.S.C. §§ 1114, 1125(a)); copyright infringement arising under the Copyright Act of 1976 (17

U.S.C. § 101 et seq.); and trademark infringement, copyright infringement, and unfair

competition under the Illinois Uniform Deceptive Trade Practices Act (815 Ill. Comp. Stat.

§ 510) (UDTPA), the Illinois Consumer Fraud and Deceptive Business Practices Act (815 Ill.

Comp. Stat. § 505) (CFDBPA), and state common law.

       2.      BTL pioneered the use of high-intensity electromagnetic energy for non-invasive

aesthetic muscle toning. BTL’s popular EMSCULPT aesthetic body-contouring device was

cleared by the U.S. Food and Drug Administration (FDA) for non-invasive toning and

strengthening of muscles in the abdomen, buttocks, legs, and arms, and launched in the United
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States in June 2018. BTL has since protected its ground-breaking EMSCULPT device with

numerous patents and federally registered trademarks.

       3.      Pinky Promise is promoting body-contouring aesthetic procedures under BTL’s

federally registered EMSCULPT and EM trademarks, using images of a third-party device which

has been altered to display the EMSCULPT trademark, and using unauthorized versions of

BTL’s copyrighted marketing materials. Upon information and belief, the device displayed by

Pinky Promise is an unauthorized (meaning non-FDA cleared), knock-off device that may have

been illegally imported into the United States.

       4.      Through its false and misleading representations, Pinky Promise attempts to

deceive unknowing consumers into believing that they are receiving procedures that are

authorized by, affiliated with, or otherwise associated with BTL. As discussed in detail below,

Pinky Promise’s actions violate BTL’s federal and common law trademark and copyright rights

and constitute unfair competition and false advertising under federal, state, and common law.

       5.      Pinky Promise’s infringing and fraudulent conduct not only irreparably harm BTL

and the goodwill associated with its brand, but could also pose potentially serious health and

safety consequences to the public. Whereas BTL’s EMSCULPT devices are FDA-cleared and

strictly regulated, upon information and belief, Pinky Promise’s device is not. The quality,

safety, and integrity of Pinky Promise’s device is unknown and, therefore, there is reason to

believe that the treatments delivered by the device may potentially be harmful to many

consumers who are mistakenly buying Pinky Promise’s treatments under the false impression

that they are either delivered by a legitimate EMSCULPT device, are administered by a BTL

trained technician, or are somehow otherwise authorized by or affiliated with BTL.




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         6.    BTL is thus forced to file this action to combat Pinky Promise’s unauthorized use

of its federally registered trademarks, copyright, and proprietary materials, as well as to protect

unknowing consumers from purchasing procedures delivered by an inferior and potentially

unsafe, non-FDA-cleared, knock-off device.

         7.    Pinky Promise’s willful and continuing unfair competition and violations of

BTL’s trademarks and copyright should be enjoined permanently to curb the harm to BTL’s

reputation and the relevant segment of the public at large. BTL has been, and continues to be,

irreparably damaged as a result of Pinky Promise’s willful actions and seeks injunctive and

monetary relief.

                                             PARTIES

         8.     BTL is a privately held corporation organized and existing under the laws of

Delaware with a principal place of business at 362 Elm Street, Marlborough, Massachusetts

01752.

         9.    On information and belief, Pinky Promise is a treatment center located in Illinois,

with its principal place of business at 2522 North Hamlin Avenue, Chicago, Illinois 60647.

                                 JURISDICTION AND VENUE

         10.   This Court has subject-matter jurisdiction over BTL’s claim arising under the

Lanham Act, 15 U.S.C. § 1121, 15 U.S.C. § 1051, and the Copyright Act, 17 U.S.C. § 101,

pursuant to 28 U.S.C. §§ 1331, 1332, and 1338(a)-(b).

         11.   This Court has supplemental jurisdiction over BTL’s claims arising under the

laws of Illinois, pursuant to 28 U.S.C. § 1367(a) because the state-law claims are so related to

BTL’s federal law claims that they form part of the same case or controversy and derive from a

common nucleus of operative facts.




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        12.    This Court has personal jurisdiction over Pinky Promise because Pinky Promise

has committed acts of trademark infringement, copyright infringement, and false, misleading,

and deceptive advertising under the Lanham Act, Illinois’ Consumer Fraud and Deceptive

Business Practices Act, 815 Ill. Comp. Stat. § 505 (CFDBPA), and Illinois’ Uniform Deceptive

Trade Practices Act, 815 Ill. Comp. Stat. § 510 (UDTPA), and intends a future course of conduct

that includes acts of infringement, and false, misleading, and deceptive advertising in this

District. On information and belief, Pinky Promise operates a treatment center located in

Chicago, Illinois, and Pinky Promise has offered for sale, sold, and advertised its services in the

United States and this District, including but not limited to, treatments associated with a knock-

off device advertised using BTL’s federally registered trademarks and copyright.

        13.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 at least because

Pinky Promise is subject to personal jurisdiction in this District, Pinky Promise is a resident of

this District, and a substantial part of the events that gave rise to the claims occurred in this

District.

                          BTL’S TRADEMARKS AND COPYRIGHT

                                          BACKGROUND

        14.    BTL is an innovator and world leader in non-invasive products and treatments for

the aesthetics industry. Since its founding in 2008, BTL’s business has specialized in the

innovation, development, and implementation of equipment and treatments for non-invasive

body contouring. See, e.g., Exhibit 1. Over eight years ago, BTL began developing its

proprietary and patent-protected HIFEM technology that uses electromagnetic stimulation to

tone and strengthen muscles in targeted areas. BTL applied its proprietary technology to non-

invasive aesthetic treatments and developed protocols for using the technology for aesthetic




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therapies. BTL utilized its HIFEM technology to develop a series of new FDA-cleared devices

that each treat specific needs, including the EMSCULPT device.

       15.     BTL’s EMSCULPT device and treatments use high-intensity electromagnetic

energy to induce powerful muscle contractions not achievable through voluntary contractions.

The EMSCULPT device is currently cleared by the FDA as a non-invasive treatment for

abdominals, buttocks, arms, calves and thighs. See Exhibit 2.




       16.     BTL markets and distributes its non-invasive aesthetic body-contouring

EMSCULPT devices and treatments that incorporate its proprietary technology, muscle toning

protocols, and applicators in the United States.

       17.     The aesthetic industry has recognized BTL and its innovations, praising BTL as a

“pioneer or trailblazer throughout the aesthetic enhancement world” and identifying BTL’s

EMSCULPT device as “unparalleled in the industry.” See Exhibit 3. The EMSCULPT device

has been renowned as a “breakthrough in non-invasive body shaping,” with The Bend Magazine

noting that EMSCULPT “is not a different version of an existing device. It’s a totally new

technology.” See Exhibits 4, 5.



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       18.     Indeed, commentators have recognized the technology’s significant departure

from prior body-contouring procedures, comparing EMSCULPT to an iPhone or Botox, and

describing the EMSCULPT device as a “revolutionary advance in non-surgical body

contouring.” See Exhibit 6.

       19.     BTL’s EMSCULPT device has also received numerous awards and accolades

from well-respected media outlets and aesthetic industry organizations. For example, RealSelf

identified BTL’s EMSCULPT device as one of the 2019 and 2020 “Most Worth It Procedures.”

See Exhibits 7, 8. Harper’s Bazaar named EMSCULPT the “Best Body Firming Treatment” in its

2020 Anti-Aging Awards. See Exhibit 9. BTL’s EMSCULPT device earned American Health &

Beauty 2018 Readers’ Choice Award for “Most Innovative Device.” See Exhibit 10. And

NewBeauty named BTL’s EMSCULPT device one of the “Best Innovations” in its NewBeauty

2019 Awards. See Exhibit 11.

       20.     BTL’s market success and superior performance are by-products of technological

innovations. BTL continues to implement these innovations today, for example, by continuing to

obtain additional FDA indications for use of its non-invasive aesthetic body-contouring devices.

                                    BTL’S TRADEMARKS

       21.     BTL uses and owns registered and unregistered trademarks and trade dress,

including the following federally registered trademarks for its brand of aesthetic equipment and

treatments:

 Reg. No.     Mark            Reg. Date    First Use in    Goods / Services
                                           Commerce
                                           or Priority
                                           Date
 5,572,801 EMSCULPT           Oct. 2,      Sept. 29,       Class 10: Medical apparatus and
                              2018         2017            instruments for the treatment of
                                                           cellulite; medical apparatus and
                                                           instruments for body toning and



                                                6
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Reg. No.   Mark        Reg. Date    First Use in   Goods / Services
                                    Commerce
                                    or Priority
                                    Date
                                                   body shaping; medical apparatus and
                                                   instruments for the removal of fat,
                                                   circumference reduction, tightening
                                                   of skin, reduction of wrinkles,
                                                   reduction of scars, reduction of
                                                   stretch marks, rejuvenation of skin,
                                                   and treatment of pigmentation spots;
                                                   above medical apparatuses with
                                                   exception for the treatment of the
                                                   nasopharynxs including inhalers and
                                                   nasal irrigators; massage apparatus;
                                                   medical apparatus and instruments
                                                   for aesthetic skin treatment
                                                   procedures; medical apparatus
                                                   generating electromagnetic,
                                                   magnetic, electrical, mechanical or
                                                   thermal energy for use in skin
                                                   treatment procedures; medical
                                                   apparatus particularly apparatus for
                                                   pain management, elimination of
                                                   muscle spasms; gynaecological and
                                                   urological apparatus and instruments,
                                                   namely, for genital rejuvenation,
                                                   treatment sexual dysfunction,
                                                   gynecological treatment and pelvic
                                                   floor treatment
5,915,636 EM           Nov. 19,     Jan. 8, 2019   Class 10: Physical therapy devices
                       2019                        for treating muscle spasms and pain
                                                   management; medical apparatus and
                                                   instruments, in particular apparatus
                                                   and instruments for the treatment of
                                                   cellulite, apparatus and instruments
                                                   for body toning and body shaping,
                                                   and apparatus and instruments for the
                                                   removal of fat, circumference
                                                   reduction; medical devices for use in
                                                   treating gynecological disorders,
                                                   pelvic area disorders, bladder
                                                   disorders and incontinence.

                                                   Class 44: Health assessment
                                                   services; medical services, namely,


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Reg. No.    Mark       Reg. Date    First Use in   Goods / Services
                                    Commerce
                                    or Priority
                                    Date
                                                  providing treatment for patients with
                                                  gynecological disorders, pelvic area
                                                  disorders, bladder disorders and
                                                  incontinence; gynecological services;
                                                  urology medical care services; rental
                                                  of medical apparatus and equipment;
                                                  cosmetic and plastic surgery; beauty
                                                  salon services; liposuction and
                                                  surgical body shaping services;
                                                  medical services, namely, removal of
                                                  body cellulite; physical therapy
                                                  services.
6,069,279 EMSCULPT     Jun. 2,      Sept. 29,     Class 44: medical services;
                       2020         2017          gynecology services; medical
                                                  equipment rental; cosmetic and
                                                  plastic surgery; beauty salons;
                                                  liposuction services; removal of
                                                  body cellulite
6,206,098              Nov. 24,     Jul. 30, 2018 Class 10: Physical therapy devices
                       2020                       for treating muscle spasms and pain
                                                  management; medical apparatus and
                                                  instruments, in particular apparatus
                                                  and instruments for the treatment of
                                                  cellulite, apparatus and instruments
                                                  for body toning and body shaping,
                                                  and apparatus and instruments for the
                                                  removal of fat, circumference
                                                  reduction; medical devices for use in
                                                  treating gynecological disorders,
                                                  pelvic area disorders, bladder
                                                  disorders and incontinence.

                                                   Class 44: Health assessment
                                                   services; medical services, namely,
                                                   providing treatment for patients with
                                                   gynecological disorders, pelvic area
                                                   disorders, bladder disorders and
                                                   incontinence; gynecological services;
                                                   urology medical care services; rental
                                                   of medical apparatus and equipment;
                                                   cosmetic and plastic surgery; beauty
                                                   salon services; liposuction and


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 Reg. No.    Mark           Reg. Date      First Use in   Goods / Services
                                           Commerce
                                           or Priority
                                           Date
                                                          surgical body shaping services;
                                                          medical services, namely, removal of
                                                          body cellulite; physical therapy
                                                          services.


       22.    BTL’s EM and EMSCULPT trademarks have been used exclusively and

continuously by BTL and have never been abandoned. The above U.S. registrations for BTL’s

EM and EMSCULPT trademarks are valid and subsisting in full force and effect. True and

correct “status” copies of these registrations, obtained from the Trademark Status Document

Retrieval (“TSDR”) database of the United States Patent and Trademark Office, are attached

hereto as Exhibit 12. The registrations for BTL’s EM and EMSCULPT trademarks constitute

prima facie evidence of their validity and of BTL’s exclusive right to use the trademarks

pursuant to 15 U.S.C. § 1057(b).

       23.    BTL’s EM and EMSCULPT trademarks perform an important source-identifying

function for BTL’s aesthetic body-contouring devices and associated treatment services,

signifying to purchasers that the devices come from BTL and are manufactured according to

BTL’s high-quality standards. BTL’s EM and EMSCULPT trademarks are inherently

distinctive, and have acquired considerable brand loyalty through BTL’s sales and promotion,

and via direct word-of-mouth promotion by consumers. In addition, BTL has expended

significant time, money, and resources in developing, marketing, advertising, promoting, and

selling its products under its EM and EMSCULPT trademarks in the United States. The market

reputation and consumer goodwill associated with BTL’s EM and EMSCULPT trademarks are

of incalculable and inestimable value to BTL.




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                                     BTL’S COPYRIGHT

       24.     BTL is the owner of a valid U.S. copyright registration for three brochures titled

“EMSCULPT NEO – The One In Body Shaping (Brochure 1) and 2 Other Unpublished Works,”

registered on October 16, 2020, Registration Number TXu 2-227-301 (the “Copyrighted Work”).

A copy of the Certificate of Registration is attached hereto as Exhibit 13 and sample images of

the brochures are depicted below:




       25.     The Copyrighted Work is valid and subsisting.

       26.     BTL owns all rights, title, and interest to the Copyrighted Work, which constitute

original and copyrightable subject matter under the Copyright Act.

       27.     BTL has used the Copyrighted Work throughout the United States, and on

information and belief, Pinky Promise has presently and previously had access to the

Copyrighted Work.

                       PINKY PROMISE’S UNLAWFUL CONDUCT

       28.     Subsequent to BTL’s adoption and widespread use of its EM and EMSCULPT

trademarks and its Copyrighted Work, Pinky Promise has marketed and promoted body-

contouring aesthetic procedures using BTL’s EM and EMSCULPT trademarks, and confusingly

similar versions thereof, in connection with services offered via a third-party device. Upon


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information and belief, the third-party device has been modified to display the EMSCULPT

trademark.

       29.     Pinky Promise is promoting body-contouring aesthetic procedures using the EM

and EMSCULPT trademarks, and confusingly similar variations thereof. Pinky Promise

knowingly makes liberal use of BTL’s federally registered and distinctive EM and EMSCULPT

trademarks throughout its marketing materials. Pinky Promise also combines and hyphenates

BTL’s EM mark with other terms, and uses BTL’s EM and EMSCULPT trademarks

descriptively and generically.1 See also Exhibit 14.

       30.     Pinky Promise also advertises its services on the e-commerce marketplace, and

via promotional sites such as Groupon, using BTL’s federally registered and distinctive EM and

EMSCULPT trademarks, and confusingly similar variations thereof. For example, Pinky

Promise holds itself out as providing different numbers of “Emsculpting Sessions” for highly

discounted prices (“Up to 52% Off”), as shown below. See also Exhibit 15.




       1
          See e.g. https://pinkypromisebeauty.net/em-sculpting (“Em-sculpting uses high-
intensity Focused electromagnetic energy to stimulate muscle contractions that lift, firm and
sculpt the body with no exercise or sweat required”); and https://pinkypromisebeauty.net/all-
treatments (“Emsculpting is a treatment to build muscle and sculpt your body”).


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       31.      Pinky Promise’s use of BTL’s distinctive marks on the Groupon page to advertise

its services at highly reduced prices evidences Pinky Promise’s knowing and willful tactics to

deceive consumers into believing they are receiving genuine EMSCULPT body-contouring

aesthetic procedures that are authorized by, affiliated with, or otherwise associated with BTL.

       32.      Pinky Promise is also promoting body-contouring aesthetic procedures in its

marketing materials using an image of a device that not only appears to be a copy of BTL’s

EMSCULPT device, but is also prominently branded with the EMSCULPT trademark, as shown

below2:




       2
           See https://www.facebook.com/Pinkypromisebeauty.net/


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       33.      On information and belief, the machine depicted in Pinky Promise’s marketing

materials is not an authentic EMSCULPT device, but rather a knock-off device illegally

imported into the United States that has not been cleared by the FDA for use on humans.

       34.      This evidence of direct copying demonstrates Pinky Promise’s intent to trade off

of BTL’s reputation and goodwill by offering to unknowing consumers potentially unsafe

treatments using, on information and belief, a knock-off, non-FDA cleared device. Consumers

are likely to be deceived into believing these procedures are delivered by a legitimate

EMSCULPT device, are administered by a BTL trained technician, or are somehow otherwise

authorized by, affiliated with, or associated with BTL, especially when Pinky Promise’s machine

has been modified to prominently display the EMSCULPT trademark.

       35.      Pinky Promise is also promoting body-contouring aesthetic procedures on its

marketing materials using an image taken from BTL’s federally registered Copyrighted Work, as

shown below3:




       3
         See
https://www.facebook.com/photo?fbid=10159251506537716&set=pcb.10159251524852716


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               Image as displayed on Pinky Promise’s Facebook Page:




                         Excerpt of BTL’s Copyrighted Work:




       36.     On information and belief, Pinky Promise had actual knowledge of BTL’s use of

and rights in its EM and EMSCULPT trademarks and BTL’s Copyrighted Work when it created

its marketing materials in order to reap the benefit and goodwill of BTL’s brand – particularly as

it copied this imagery exactly. Indeed, Pinky Promise’s website and social media pages make

liberal use of BTL’s EM and EMSCULPT trademarks, which strongly indicates Pinky Promise’s

intent to copy, and necessary knowledge of, BTL’s EM and EMSCULPT trademarks.

       37.     Pinky Promise has continued its bad-faith and infringing conduct despite

numerous letters and reminders sent by counsel for BTL.




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       38.    Specifically, on August 31, 2020, BTL sent a letter to Pinky Promise demanding

that it immediately cease and desist from any and all uses of BTL’s EM and EMSCULPT

trademarks, including Pinky Promise’s promotion of body-contouring aesthetic procedures under

the EMSCULPT name; displaying images of a device that, upon information and belief, is a

knock-off copy of BTL’s EMSCULPT device prominently branded with the EMSCULPT mark;

and liberal use of BTL’s EM and EMSCULPT trademarks throughout Pinky Promise’s

marketing material.

       39.    Pinky Promise responded to BTL’s letter on the same day, indicating that its

device is not an EMSCULPT device and does not display the EMSCULPT mark. As to the other

acts of infringement, Pinky Promise stated that it was working to remove any use of the EM and

EMSCULPT trademarks from its website and marketing materials.

       40.    Despite Pinky Promise’s assurances that it would cease use of BTL’s branding,

BTL noticed continued use of the EM and EMSCULPT trademarks throughout Pinky Promise’s

website. On October 5, 2020, BTL sent an email to Pinky Promise pointing to its continued

infringement of BTL’s trademarks and again demanded that Pinky Promise cease any and all use

of the EM and EMSCULPT trademarks. Pinky Promise did not respond to BTL’s October 5,

2020 communication.

       41.    On February 16, 2021, BTL sent further correspondence to Pinky Promise again

asserting that it must remove any and all use of the EM and EMSCULPT trademarks from its

website and marketing materials.

       42.    Pinky Promise responded to BTL on February 17, 2021 assuring that it would

remove BTL’s trademarks from its website. However, the EM and EMSCULPT trademarks, and




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confusingly similar variations thereof, remain in use throughout Pinky Promise’s website to this

day.

         43.    Despite BTL’s numerous letters and reminders, Pinky Promise posted an image

on its Facebook page taken directly from BTL’s Copyrighted Work on March 26, 2021, over a

month after its last communication and assurance to BTL.

         44.    BTL has not licensed or authorized Pinky Promise to use any of the infringing

EM and EMSCULPT trademarks, or the Copyrighted Work.

               BTL HAS BEEN HARMED BY PINKY PROMISE’S CONDUCT

         45.    Pinky Promise’s use of trademarks confusingly similar to BTL’s and BTL’s

copyrighted images has injured and, if permitted to continue, will continue to irreparably harm

BTL’s business and the goodwill associated with its brand, as well as BTL’s reputation for

providing high quality and safe body-contouring aesthetic devices and procedures subject to

strict quality control standards that have been cleared by the FDA.

         46.    Pinky Promise’s actions are likely to cause confusion, mistake, or deception as to

the source or origin of the services offered by Pinky Promise; are likely to falsely suggest a

sponsorship, connection, license, or association between the infringing services and BTL; and

will divert profits from BTL.

         47.    Pinky Promise has also copied BTL’s original Copyrighted Work, and is offering

its services in conjunction with copies of BTL’s Copyrighted Work, without BTL’s consent in

violation of BTL’s Copyrighted Work.

         48.    In addition to these harms, BTL has also suffered reputational injury and the loss

of goodwill established in BTL’s EMSCULPT device and its distinctive EM and EMSCULPT

trademarks. Namely, Pinky Promise’s false and misleading practices and misrepresentations,

have exposed the public at large to potentially suffer from serious health and safety


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consequences as a result of receiving treatments from an inferior, and illegally imported knock-

off machine that has been modified to bear the EMSCULPT trademark.

          49.   BTL is entitled to damages and injunctive relief for Pinky Promise’s willful,

intentional, and purposeful infringement. Unless immediately enjoined, Pinky Promise’s conduct

will continue to cause significant and irreparable harm to BTL.

            COUNT I: TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114

          50.   BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

          51.   BTL is the exclusive owner of the EM and EMSCULPT trademarks. BTL’s

United States trademark registrations for the EM and EMSCULPT trademarks are in full force

and effect. Upon information and belief, Pinky Promise has knowledge of BTL’s rights in its EM

and EMSCULPT trademarks, and is willfully infringing BTL’s trademarks. Pinky Promises’

willful, intentional, and unauthorized use of BTL’s trademarks is likely to cause confusion,

mistake, and deception as to the origin and quality of Pinky Promises services among the general

public.

          52.   Pinky Promise’s actions constitute willful trademark infringement under Section

32 of the Lanham Act, 15 U.S.C. § 1114.

          53.   The injuries and damages sustained by BTL have been directly and proximately

caused by Pinky Promise’s wrongful promotion, marketing, offering for sale, and sale of services

that infringe BTL’s brand.

          54.   BTL is entitled to an injunction restraining Pinky Promise, its officers, agents, and

employees, and all persons acting in concert with Pinky Promise, from engaging in any further

such acts in violation of the trademark laws.




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         55.     BTL has no adequate remedy at law, and if Pinky Promise’s actions are not

enjoined, BTL will continue to suffer irreparable harm to its reputation and the goodwill of the

EM and EMSCULPT trademarks.

               COUNT II: COPYRIGHT INFRINGEMENT UNDER 17 U.S.C. § 501

         56.     BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

         57.     By its actions alleged above, Pinky Promise has infringed and will continue to

infringe BTL’s Copyrighted Work in its marketing materials in violation of 17 U.S.C. § 501 et

seq.

         58.     BTL is entitled to an injunction restraining Pinky Promise, its officers, agents, and

employees, and all persons acting in concert with Pinky Promise, from engaging in any further

such acts in violation of the copyright laws.

         59.     BTL has no adequate remedy at law, and if Pinky Promise’s actions are not

enjoined, BTL will continue to suffer irreparable harm as a result of the infringement of its

copyrights.

       COUNT III: FEDERAL UNFAIR COMPETITION, FALSE DESIGNATION OF
           ORIGIN, AND FALSE ADVERTISING UNDER 15 U.S.C. § 1125

         60.     BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

         61.     Pinky Promise’s promotion, marketing, offering for sale, and sale of services

under the EM and EMSCULPT trademarks (and variations thereof) and the Copyrighted Work

constitute false advertising and has created, and is creating, a likelihood of confusion, mistake,

and deception among the general public as to the affiliation, connection, or association between

Pinky Promise and BTL, and their respective products and services.



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        62.      By using BTL’s EM and EMSCULPT trademarks and the Copyrighted Work

within its marketing materials, and the EMSCULPT trademark on images of copycat, knock-off

devices, Pinky Promise engages in false advertising, creates the false impression that its services

are rendered via a BTL EMSCULPT device, and otherwise misleads consumers as to the origin

of its aesthetic device.

        63.      Pinky Promise’s actions constitute a willful violation of Section 43 of the Lanham

Act, 15 U.S.C. § 1125.

        64.      Pinky Promise’s false advertising practices constitute misleading descriptions and

misrepresentations of fact in commerce that, in commercial advertising and promotion,

misrepresent the nature, characteristics, and quality of Pinky Promise’s services in violation of

the Lanham Act, 15 U.S.C. § 1125.

        65.      BTL has no adequate remedy at law, and if Pinky Promise’s actions are not

enjoined, BTL will continue to suffer irreparable harm to its reputation and the goodwill of the

BTL brand.

     COUNT IV: VIOLATION OF THE ILLINOIS UNIFORM DECEPTIVE TRADE
             PRACTICES ACT UNDER 815 ILL. COMP. STAT. § 510

        66.      BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

        67.      The acts of Pinky Promise complained of herein constitute deceptive trade

practices in violation of 815 ILCS § 510/1 et seq. insofar as Pinky Promise has:

              a. passe[d] off goods or services as those of another;

              b. cause[d] likelihood of confusion or of misunderstanding as to the source,

                 sponsorship, approval, or certification of goods or services;




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             c. cause[d] likelihood of confusion or of misunderstanding as to affiliation,

                connection, or association with or certification by another;

             d. represent[ed] that goods or services have sponsorship, approval, characteristics,

                ingredients, uses, benefits, or quantities that they do not have or that a person has

                a sponsorship, approval, status, affiliation, or connection that he or she does not

                have; and

             e. represent[ed] that goods or services are of a particular standard, quality, or grade.

       68.      Pinky Promise’s unauthorized, intentional, and willful use of BTL’s EM and

EMSCULPT trademarks and Copyrighted Work to promote, market, offer for sale, and sell

Pinky Promise’s services constitutes unfair competition within the meaning of the Illinois

Deceptive Trade Practices Act, 815 ILCS § 510 et seq.

       69.      Pinky Promise’s unauthorized, intentional, and willful representations are false

and misleading and were done to deceive the consuming public in Illinois and to capitalize on the

goodwill developed by BTL.

       70.      Pinky Promise’s use of BTL’s EM and EMSCULPT trademarks and Copyrighted

Work in connection with the marketing and sale of Pinky Promise’s services constitutes unfair

competition that is likely to cause confusion, mistake, and deception among consumers as to the

affiliation, connection, or association with BTL or the origin, sponsorship, or approval of Pinky

Promise’s infringing services by BTL. Pinky Promise’s deceptive actions are likely to influence

the consuming public’s purchasing decisions. Pinky Promise’s unfair competition jeopardizes the

goodwill created by BTL in its EM and EMSCULPT trademarks and Copyrighted Work and is

causing irreparable harm to BTL for which there is no adequate remedy at law.




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         71.    Despite its actual and constructive knowledge of BTL’s ownership and prior use

of the EM and EMSCULPT trademarks and the Copyrighted Work, Pinky Promise has continued

to use BTL’s EM and EMSCULPT trademarks and Copyrighted Work in association with

promotion, advertising, marketing, and/or sale of Pinky Promise’s services without BTL’s

authorization or consent. Pinky Promise’s actions are deliberate and willful and have been done

with the intention of trading upon the valuable goodwill created by BTL in its EM and

EMSCULPT trademarks and Copyrighted Work.

         72.    BTL has sustained irreparable injury, damage, and loss in Illinois based on Pinky

Promise’s actions. Pinky Promise’s actions directly or indirectly affected Illinois.

         73.    Pinky Promise is liable for a willful violation of the Illinois Uniform Deceptive

Trade Practices Act, 815 ILCS § 510, et seq.

         74.    Pursuant to the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510

et seq., BTL is entitled to permanent injunctive relief ordering Pinky Promise’s to cease this

unfair competition, and to recover reasonable attorney’s fees and costs pursuant to 815 ILCS §

510/3.

 COUNT V: VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE
       BUSINESS PRACTICES ACT UNDER 815 ILL. COMP. STAT. § 505

         75.    BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

         76.    The acts of Pinky Promise complained of herein in Counts I - IV constitute fraud

and deceptive business practices in violation of 815 ILCS § 505/1, et seq. For example, Pinky

Promise’s aforementioned conduct of unfair competition in violation of Section 2 of the Uniform

Deceptive Trade Practices Act (815 ILCS § 510, et seq) is likely to misrepresent the nature of

Pinky Promise’s products and is likely to cause confusion, or to cause mistake, or to deceive as



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to the origin, sponsorship, or approval of Pinky Promise’s products and therefore constitutes a

violation of the Illinois Consumer Fraud and Deceptive Trade Practice Act, 815 Ill. Comp. Stat.

§ 505/1, et seq. See also paragraphs 28-44 above.

        77.     Pinky Promise’s actions are deliberate and willful.

        78.     BTL has sustained irreparable injury, damage, and loss in Illinois based on Pinky

Promise’s actions. Pinky Promise’s actions directly or indirectly affected Illinois.

        79.     BTL is entitled to recover reasonable attorney’s fees and costs pursuant to 815

ILCS § 505/10a.

                    COUNT VI: COMMON LAW UNFAIR COMPETITION

        80.     BTL realleges and incorporates by reference the foregoing allegations as if fully

set forth herein.

        81.     This claim arises under the common law of the State of Illinois.

        82.     Pinky Promise has engaged in unfair competition through its reliance and

exploitation of consumer mistake and confusion, and its deliberate efforts to exploit the goodwill

represented by BTL’s EM and EMSCULPT trademarks and by its use of BTL’s Copyrighted

Work in connection with the marketing and sale of Pinky Promise’s services.

        83.     Pinky Promise’s aforementioned acts constitute unfair competition in violation of

Illinois common law.

        84.     As a proximate result of Pinky Promise’s actions, BTL has suffered and will

continue to suffer damages.

        85.     BTL has no adequate remedy at law and will continue to suffer irreparable harm

unless Pinky Promise is enjoined.




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          86.   By reason of Pinky Promise’s unlawful conduct as alleged above, BTL has been

substantially injured and is entitled to damages and Pinky Promise’s profits attributable to its

infringement, which are presently indeterminate, and the costs of this action.

                                    PRAYER FOR RELIEF

          WHEREFORE, BTL respectfully requests that this Court enter judgment against Pinky

Promise as follows:

          A.    That Pinky Promise has violated the Lanham Act, 15 U.S.C. § 1114, by

committing acts of trademark infringement;

          B.    That Pinky Promise has violated the U.S. Copyright Act, 17 U.S.C. § 501, by

committing acts of copyright infringement;

          C.    That Pinky Promise has violated the Lanham Act, 15 U.S.C. § 1125(a), by

committing acts of federal unfair competition, false designation of origin, and false advertising;

          D.    That Pinky Promise has violated the Illinois Uniform Deceptive Trade Practices

Act, 815 Ill. Comp. Stat. § 510;

          E.    That Pinky Promise has violated the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 Ill. Comp. Stat. § 505;

          F.    An award of damages against Pinky Promise as a result of its wrongful acts

against BTL in an amount to be proved at trial;

          G.    An award of any and all of Pinky Promise’s profits arising from the foregoing

acts;

          H.    An award of treble damages;

          I.    A finding that Pinky Promise has willfully engaged in a deceptive trade practice;

          J.    Permanent injunctive relief enjoining Pinky Promise from:




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        i.     using BTL’s EM and EMSCULPT trademarks, copyrights, or any

               reproductions, copies, or colorable imitations thereof, in any manner in

               connection with the promotion, marketing, advertising, offering for sale, or

               sale of any product or service that is not a genuine BTL product or service,

               or is not authorized by BTL to be offered in connection with BTL’s

               trademarks or copyrights;

       ii.     passing off, inducing, or enabling others to sell or pass off any product or

               service as a genuine BTL product or service, or any other product or service

               offered by BTL, that is not BTL’s or not offered under the authorization,

               control, or supervision of BTL and approved by BTL for sale under BTL’s

               trademarks or copyrights;

      iii.     committing any acts calculated to cause consumers to believe that Pinky

               Promise’s goods and services are those sold under the authorization, control

               or supervision of BTL, or are sponsored by, approved by, or otherwise

               connected with BTL;

      iv.      further infringing BTL’s trademarks or copyrights, and damaging BTL’s

               goodwill; and

       v.      manufacturing, shipping, delivering, holding for sale, transferring or

               otherwise moving, storing, distributing, returning, or otherwise disposing

               of, in any manner, products or inventory not manufactured by or for BTL,

               nor authorized by BTL to be sold or offered for sale, and which bear BTL’s

               EM and EMSCULPT trademarks, copyrights, or any reproductions, copies,

               or colorable imitations thereof.




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       K.     A finding that BTL is entitled to its costs, reasonable attorneys’ fees, and pre- and

post-judgment interest; and

       L.     Any other and further relief the Court deems necessary, just, or proper.

                                       JURY DEMAND

       BTL hereby demands a trial by jury on all issues so triable.




                                                        /s/ Julianne M. Hartzell
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